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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,

     Plaintiff,

                  v.                             Criminal No. 18-066 (FAB)

KATERIN MARTÍNEZ-ALBERTO [3],

     Defendant.


                               OPINION AND ORDER

BESOSA, District Judge.

     Before    the     Court    is    defendant      Katerin     Martínez-Alberto

(“Martínez”)’s motion for an evidentiary hearing and a downward

adjustment pursuant to the statutory safety valve, 18 U.S.C.

section 3553(f) (“section 3553(f)”).                (Docket No. 533.)       For the

reasons set forth below, Martínez’s motion is DENIED.

I.   Background

     A   grand    jury     returned      a     two-count   second        superseding

indictment on August 14, 2019, charging Martínez, Maximiliano

Fígaro-Benjamín        (“Maximiliano”),             Emiliano      Fígaro-Benjamín

(“Emiliano”),        and    Alexandria          Andino-Rodríguez         (“Andino”)

(collectively,    “defendants”)         with    conspiracy     to    possess   with

intent   to   distribute       at    least   five    kilograms      of   cocaine   in

violation of 21 U.S.C. sections 846, 841(a)(1) and 841(b)(1)(A)

(count one), and conspiracy to import a controlled substance into
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the customs territory of the United States in violation of 21

U.S.C.   sections    952(a),    960(a)(1)    and   (b)(1)(B)     (count   two).

(Docket No. 316.) 1

      Martínez and Andino stood trial in September of 2019. (Docket

Nos. 367, 370, 372, 379, 391, 393 & 399.)               The jury found them

guilty on both counts.         (Docket Nos. 402 and 403.)            After the

trial, defense counsel, Assistant United States Attorneys, and law

enforcement agents met with Martínez for a safety valve debriefing.

(Docket Nos. 473 & 487.)       Martínez requests that the Court conduct

an evidentiary hearing to determine whether she satisfied the

criteria set forth in section 3553(f).              (Docket No. 533.)        She

also requests that the Court impose a sentence pursuant to the

United States Sentencing Guidelines, “regardless of any statutory

minimum term of imprisonment.”          Id. at p. 2.       The United States

responded.     (Docket No. 546.)        The parties filed a reply and a

surreply with leave of the Court.          (Docket Nos. 555 & 563.)




1 On February 1, 2018, the grand jury initially charged Maximiliano, Emiliano,
Martínez, and Andino with conspiring to import and distribute cocaine. (Docket
No. 8.) The superseding indictment named two additional defendants, Bernardo
Coplin-Benjamín (“Coplin”) and José Resto-Miranda (“Resto”). (Docket No. 123.)
Coplin and Resto pled guilty on August 5, 2019 and August 12, 2019, respectively.
(Docket Nos. 277 and 299). Maximiliano and Emiliano pled guilty on August 18,
2019. (Docket No. 363.)
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II. The Safety Valve

   Congress enacted section 3553(f) pursuant to the Mandatory

Minimum Sentencing Reform Act of 1994.        18 U.S.C. § 3553(f).       In

enacting section 3553(f), Congress intended to:

     permit a narrow class of defendants, those who are the
     least culpable participants in such offenses, to receive
     strictly regulated reductions in prison sentences for
     mitigating factors currently recognized under the
     federal sentencing guidelines.

H.R. No. 103-460 (1994).     This statute, referred to as the “safety

valve,” serves to “mitigate the harsh effect of mandatory minimum

sentences on first-time, low-level offenders in drug trafficking

schemes.”      United States v. Padilla-Colón, 578 F.3d 23, 30 (1st

Cir. 2009) (internal citation and quotation omitted).

     Defendants seeking to avail themselves of the safety valve

must satisfy five requirements.      18 U.S.C. § 3553(f).      Martínez’s

motion   for    an   evidentiary   hearing   concerns   only   the     fifth

requirement.     This provision states that:

     not later than the time of the sentencing hearing, [the
     defendant   must   provide]   to   the   Government   all
     information and evidence the defendant has concerning
     the offense or offenses that were part of the same course
     of conduct or of a common scheme or plan, but the fact
     that the defendant has no relevant or useful other
     information to provide or that the Government is already
     aware of the information shall not preclude a
     determination by the court that the defendant has
     complied with this requirement.
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18 U.S.C. § 3553(f)(5).           Satisfaction of every requirement is a

precondition for the Court to disregard the applicable mandatory

minimum sentence.     See, e.g., United States v. Matos, 328 F.3d 34,

44 (1st Cir. 2003) (“Congress designed the safety valve statute,

18 U.S.C. § 3553(f), with the view that a defendant who satisfies

the first four prongs of the statute must prove himself deserving

of the safety valve by providing true and complete information to

the    government    prior   to    the   commencement     of    his   sentencing

hearing”).     The First Circuit Court of Appeals has held that

“nothing short of truthful and complete disclosure will suffice.”

Id. at 38.   The Court may invoke the safety valve only if Martínez

engaged in “straight talk; equivocations, half-truths, and veiled

allusions will not do.”        Id.; United States v. Márquez, 280 F.3d

19, 23 (1st Cir. 2002) (“Full disclosure is the price that Congress

has attached to the relief under the [safety valve] statute.”)

(citation and quotation omitted).

       Martínez shoulders the burden of establishing that the safety

valve is applicable.     United States v. Richardson, 225 F.3d 46, 53

(1st Cir. 2002). The Court must render factual findings concerning

each   requirement    before      determining   whether    to    disregard   the

mandatory minimum sentence.          United States v. Harakaly, 734 F.3d

88, 98 (1st Cir. 2013); see, e.g., United States v. Miranda-

Santiago, 96 F.3d 517, 529 (1st Cir. 1996) (holding that the
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“district court’s bare conclusion that [the defendant] did not

‘cooperate    fully,’    absent   either   specific    findings    or    easily

recognizable support in the record, cannot be enough the thwart

her effort to avoid imposition of a mandatory minimum sentence”).

Whether Martínez is eligible for safety valve relief is subject to

the sound discretion of the district court.           Matos, 328 F.3d at 42

(“Our case law gives trial judges broad discretion to find safety

valve eligibility in spite of government opposition, unintentional

bevues, immaterial omissions, or bona fide misunderstandings.”);

United States v. Montañez, 82 F.3d 520, 523 (1st Cir. 1996)

(holding that the “Government is perfectly free to point out the

suspicious omissions [in a safety valve proffer] at sentencing,

and   the   district    court   is   entitled   to   make   a   common   sense

judgment”).

III. Martínez Failed to Disclose the Extent of her Participation
     in the Drug Trafficking Conspiracy

      Martínez contends that there “is no specific information that

the government alleges [she] has and has failed to provide.”

(Docket No. 533 at p. 5.)         The United States need not, however,

persuade the Court that Martínez omitted or concealed information.

In United States v. Márquez, the district court imposed a mandatory

minimum sentence because the defendant provided false statements

to the United States during the safety valve proffer.             280 F.3d at
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24.    The    Márquez   court   affirmed   the   sentence,   rejecting    the

defendant’s contention that section 3553(f) “requires a [trial]

court to premise any repudiation of the safety valve proffer on

‘objective’ rebuttal evidence.”        Id.   The First Circuit Court of

Appeals held that after a defendant “credibly establishes that she

has provided all information,” the United States cannot stymie

application of the safety valve by “simply saying ‘we don’t believe

the defendant.’”        Id. (citing Miranda-Santiago, 96 F.3d at 529

(vacating the defendant’s sentence because the “government did not

rebut a facially plausible tale of limited involvement by pointing

to information [he] must have known”)).

      Unfortunately for Martínez, her proffer is not credible.

Withholding information from the United States disqualifies her

from receiving a more lenient sentence despite her minimal criminal

history and the non-violent nature of the offense.              The safety

valve debriefing is fraught with omissions and falsehoods.

  A. The Purported Lack of Knowledge

      Law    enforcement     agents   memorialized    the    safety     valve

debriefing in a Federal Bureau of Investigation 302 form (“302

form”).      (Docket No. 546, Ex. 1.)      Martínez argues that the 302

form is incomplete.        This document allegedly omits the following

statement regarding the summer 2017 trip to St. Thomas:
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     when [the defendants] returned to Puerto Rico, she
     noticed empty black bags in the boat; she asked Resto
     about them but said he [sic] was taking things out of
     the bathroom . . . she found this odd and this is what
     triggered her suspicion of trafficking, but she had no
     confirmation as she did not see nor deal with drugs.

(Docket No. 555 at p. 2.)     Although the 302 form does not refer to

the black bags, it states that “she never saw drugs nor was there

any mention of drugs.”     (Docket No. 456, Ex. 1 at p. 1.)

     The record belies the statements recorded in the 302 form and

the omitted “black bag” incident.        Resto testified extensively at

trial,   implicating    Martínez    by   detailing    her   role   in   the

conspiracy.   (Docket Nos. 386, 387 & 395.)        He recruited Martínez

to join the conspiracy, disclosing “what [the defendants] wanted

to do, and that [they] needed women to come in and be like fillers.”

(Docket No. 386 at p. 188.)         She harbored no doubt about the

purpose of the conspiracy:         Resto explicitly informed Martínez

that “they were going to . . . St. Thomas to pick up cocaine and

bring it back to Puerto Rico.”       Id. at p. 191.

     That she suspected the black bags might contain cocaine is

inconsistent with evidence demonstrating that Martínez knowingly
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participated in the drug-trafficking conspiracy. 2                The second

superseding indictment alleges that the conspiracy “[began] on a

date unknown, but not later than 2017, and continued until a date

unknown but not earlier than January 27, 2018.”               (Docket No. 316

at pp. 1-2.)     The jury determined beyond a reasonable doubt that

she knew about and agreed to import cocaine in 2017, not that she

merely    “suspected”     the    defendants     of    importing    controlled

substances.

    B. The November 4, 2017 Trip to St. Thomas

      Martínez    provided    the   United   States    with   information    in

piecemeal fashion, admitting involvement in the drug trafficking

conspiracy only after law enforcement agents presented her with

incriminating evidence.       For instance, Martínez first claimed that

“she only visited St. Thomas” on the Black Wolfpack in January of

2018. (Docket No. 546, Ex. 1 at p. 2.)               Law enforcement agents

then showed her and defense counsel a photo from November 4, 2017,


2 Martínez argues that the 302 form “should not be considered” because it omits
“many of [her] statements, includes the agent’s observations regarding her
demeanor, and describes defense counsel’s statements and behavior during the
interview inaccurately and without context. (Docket No. 555 at pp. 8-9.)     The
Federal Rules of Evidence do not apply at sentencing proceedings. United States
v. Robinson, 144 F.3d 104, 108 (1st Cir. 2003). This Court “has broad discretion
to accept even hearsay evidence at sentencing so long as the court concludes,
with proper support, that the information has sufficient indicia of
trustworthiness to warrant a finding of probably accuracy.” United States v.
Riccio, 529 F.3d 40, 47 (1st Cir. 2008) (citation omitted).      The substantive
inconsistences between the safety valve statements and the trial evidence
precludes a downward adjustment, not Martínez’s demeanor or defense counsel’s
purported behavior. Martínez does not challenge the veracity of the 302 form.
Accordingly, the 302 form bears sufficient indicia of reliability, and the Court
may rely on it.
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depicting Martínez standing aboard the Black Wolfpack. Id. Again,

she denied traveling to St. Thomas on this date, averring that the

photo “was from a trip to Palomino.”        Id.    Martínez admitted “to

being in St. Thomas” on November 4, 2017 only after viewing marina

records corresponding to this trip.       Id.

      Martínez’s attempt to evade full disclosure is perplexing.

Because the photo and marina records were admitted as evidence at

trial,   Martínez    cannot   feign    surprise    or   profess   confusion

regarding the November 4, 2017 trip to St. Thomas.            (Gov’t Exs.

16, 22 & 111.)    In fact, Martínez’s memory improved significantly

after a ten-minute break at the safety valve debriefing.                She

subsequently recalled that on November 4, 2017 the defendants

stayed at the same hotel, drove in a gold Toyota-Corolla taxi, and

visited the Hala Hala night club.         (Docket No. 546, Ex. 1 at p.

2.)   Martínez continued to maintain, however, that she “didn’t

know there were drugs on the boat.”       Id.

      On the day before the November 4, 2017 trip, Martínez and

Andino   discussed    their   plans.      (Gov’t    Exh.   90-1.)       This

conversation included the following exchange:
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            Andino: Mami we are leaving tomorrow early Get
            ready

            Martínez: Ok Were [sic] ready

            Andino: Okk

            Martínez: Hahaha

Id.   The next day, Martínez’s phone captured a photo of cocaine on

the floor of an apartment.        (Gov’t Ex. 88-1.)   On November 6, 2017,

Martínez forwarded a news article to Andino entitled “Two Women

Arrested with 14 Kilos of Cocaine.”         (Gov’t Ex. 90-1.)

      At   the   safety   valve    debriefing,   Martínez   claimed      that

Maximiliano borrowed her phone and took a picture of the cocaine

without her knowledge.       (Docket No. 546, Ex. 1 at p. 2.)            She

allegedly learned of the photo a week later, but did not delete

this image from her phone.           Id.     The Court finds that this

assertion is suspect, particularly because overwhelming evidence

suggests that Martínez was keenly aware of the drug trafficking

conspiracy.      That Martínez shared a news article detailing a

similar criminal scheme evinces a consciousness of guilt and fear

of apprehension.

  C. The November 19, 2017 Trip to St. Thomas

      Martínez did not “remember” a photo from November 19, 2017

of herself inside a St. Thomas apartment.         (Docket No. 546, Ex. 1

at p. 3.)     She suggested that this photo is from a previous trip
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to St. Thomas.      Id.    Once more, marina records demonstrated that

the Black Wolfpack docked in St. Thomas on that date.            Id.; Gov’t

Ex.    16.    Moreover,    data   extracted    from    Maximiliano’s      phone

indicated that the photo Martínez could not identify was, in fact,

created on November 19, 2017.       Id.; Docket No. 387 at p. 42.          The

Court finds it incredible that Martínez could not recall any

information pertaining to the November 19, 2017 trip to St. Thomas.

  D. The January 27, 2018 Trip to St. Thomas

       Martínez informed the United States that she “only went on

the January 27, 2018 trip to sleep with clients, and nothing else.”

(Docket No. 546, Ex. 1 at p. 4.)         Based on the evidence presented

at trial, the prostitution theory is a pretext for the drug-

trafficking conspiracy.        She reiterated that she “was never paid

to smuggle drugs.         And no one ever spoke of trafficking drugs

abroad the Black Wolfpack.”        Id.    Martínez stated that “she was

never offered money to go with [Maximiliano, Resto and Andino]” to

St. Thomas.     (Docket No. 546, Ex. 1 at p. 1.)           Resto testified,

however, that he offered Andino and Martínez $3,000 each in 2017

if “the [summer] trip was successful.”         (Docket No. 386 at p. 189.)

       Law enforcement agents removed 56 packages of cocaine from a

hidden compartment on the Black Wolfpack.             (Docket No. 384 at p.

83.)    Yet, Martínez only “suspected [the defendants] were moving

drugs on the January 27, 2018 trip.”          (Docket No. 546, Ex. 1 at p.
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3.)      Hours   before   her    arrest,   Martínez    participated   in    the

following    text-message       conversation   with   a   person   named,   “Mi

Puzz.”    (Docket No. 386 at p. 90.)

      Mi Puzz: What are you doing so active at this timeeee
               [sic]

      Martínez: Hahahhaa.        Working until Sunday.

      Mi Puzz: Working where at this time[?]

      Martínez: Where I told you last time I was going to
                work[.] With those people

      Mi Puzz: Ohh so you are not going to tobacco dis week[.]
               They gonna [sic] kill u

      Martínez: Hahahhahahahah This is more Than tobaco [sic]

Id. at p. 92.        The “more than tobacco” statement alludes to

cocaine, not to prostitution.              Martínez also exchanged text

messages with an unknown person, stating: “not in pr Im [sic] rich

mofo.”     Id. at p. 92.    Martínez is “rich” because she agreed to

traffic cocaine for thousands of dollars.             The persistent refusal

to acknowledge her involvement is fatal to Martínez’s safety valve

request.

  E. The Gran Via Omission

      Martínez informed the United States that she “never spoke to

GRAN VIA and never saw him.”           (Docket No. 546, Ex. 1 at p. 4.)

According to Martínez, she first learned of this person on January

27, 2018, when Maximiliano referred to Gran Via as “the guy they
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picked up the drugs from in St. Thomas.”           Id.    Martínez alleged

that she “[didn’t] have [Gran Via’s] contact information.”                Id.

       Law enforcement agents then showed defense counsel a text

conversation between Martínez and Gran Via. Id. The United States

previously extracted this conversation from Martínez’s cellular

phone.   Id.    The conversation occurred in November of 2017, months

before Martínez allegedly first heard Maximiliano refer to Gran

Via.   Id.   Moreover, the phone number detected on Martínez’s phone

“belong[ed] to the same Gran Via that [Martínez] stated she never

met, never spoke with, and had no contact information for.”                Id.

When confronted with this discrepancy, Martínez explained that the

contact information for Gran Via on her phone is “another” Gran

Via, a client in St. Thomas.           Id.    Martínez’s explanation is

unconvincing.       Her   failed   attempt   to   reconcile    her   initial

statements with the evidence extracted from her phone demonstrates

a lack of candor.

       The contradictions presented by Martínez defy common sense.

Her misstatements are not inadvertent, “good faith [omissions] to

disclose information [she] could not imagine was relevant.” United

States v. Feliz, 453 F.3d 33, 36—37 (1st Cir. 2006) (affirming

denial of safety valve relief because “there were three major drug

transactions at issue in [the defendant’s] case, and [he] did not

disclose his involvement in the second of these in his initial
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proffer”).    Martínez minimized her participation in the conspiracy

to her detriment.      Accordingly, she is ineligible for safety valve

relief pursuant to section 3553(f).

IV. The Evidentiary Hearing

    Martínez “has no absolute or presumptive right to insist that

the sentencing court take testimony on every fact germane to

sentencing.”      United States v. Rodríguez, 336 F.3d 67, 72 (1st

Cir. 2003).       Trial courts possess broad discretion regarding

requests for evidentiary hearings.            United States v. Colón-Muñoz,

318 F.3d 348, 358 (1st Cir. 2003).                The Court considers the

“totality of the circumstances and assess[es] the likely utility

of a hearing in that light.”       Rodríguez, 336 F.3d at 70 (citation

omitted).

     The circumstances of this case do not warrant an evidentiary

hearing.     That Martínez concealed the degree of her knowledge of

and participation in the drug-trafficking conspiracy is beyond

dispute.     Consequently, the motion for an evidentiary hearing is

DENIED.    See United States v. Montes, 151 Fed. Appx. 846, 856 (11th

Cir. Sept. 27, 2005) (holding that the district court “did not

plainly    err   in   not   conducting   an    evidentiary   hearing   before

deciding not to sentence Montes under the safety-valve provisions”

because “[the defendant] failed to submit any evidence from which

the court could infer that he either shared with the government
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all the information he had about the offense conduct and related

activities, or that he had no such information”).

V. Conclusion

   For the reasons set forth above, Martínez’s motion for an

evidentiary hearing and a downward adjustment pursuant to section

3553(f) is DENIED.    (Docket No. 533.)



     IT IS SO ORDERED.

     San Juan, Puerto Rico, November 2, 2020.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
